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            UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                           GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,

v.                                       CASE NO. 1:03-cr-00055-MP-GRJ-1

RAYMOND LOZANO, JR,

      Defendant.

_____________________________/

                                   ORDER

      This cause comes on for consideration upon the Magistrate Judge's

Report and Recommendation dated September 6, 2016. ECF No. 92. The

parties have been furnished a copy of the Report and Recommendation and

have been afforded an opportunity to file objections pursuant to Title 28,

United States Code, Section 636(b)(1). Petitioner has filed objections on ECF

No. 93. I have made a de novo review based on those objections.

      Having considered the Report and Recommendation, and the timely

filed objections, I have determined that the Report and Recommendation

should be adopted.

      Accordingly, it is hereby ORDERED AND ADJUDGED:

      1.    The Magistrate Judge’s Report and Recommendation, ECF No.
            92, is adopted and incorporated by reference in this order.
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       2.     Petitioner’s Motion to Amend or Correct Sentence pursuant to
              Amendment 794 and 28 U.S.C. § 2255, ECF No. 91, is
              SUMMARILY DISMISSED WITHOUT PREJUDICE as the
              Court does not have jurisdiction to consider it.

       3.     A certificate of appealability is DENIED.

       4.     The clerk is directed to close the file.


              SO ORDERED on October 11, 2016.


                                  s/Mark E. Walker
                                  United States District Judge




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